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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH DAKOTA
                                 SOUTHERN DIVISION

                   Lawrence L. Piersol United States District Judge Presiding

 Courtroom Deputy - SLW                               Court Reporter – Jill Connelly
 Courtroom - SF #1                                    Date – November 18, 2019
 U.S. Probation Officer – Natalie Kaufman

                                        4:19-CR-40033-01

 United States of America                                      Jeremy Jehangiri

                   Plaintiff,

                      vs.

 Calvin W. Pelichet a/k/a Calvin Pellichet                       Clint Sargent


                  Defendant.


 TIME HEARING SCHEDULED TO BEGIN: 3:30 p.m.

 TIME:
3:45 p.m.     Enter Contested Sentencing Hearing

              Witnesses:
              Molly Rigby
              Richard Marks

              Defendant sentenced to 24 months imprisonment; 3 years supervised release;
              $100 special assessment; restitution ordered.

5:08 p.m.     Court in recess.
